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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )    Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,1                        )    Case No. 14-10979 (CSS)
                                                              )
                          Debtors.                            )    (Jointly Administered)
                                                              )

                        FINAL ORDER (A) AUTHORIZING USE
                  OF CASH COLLATERAL FOR TEXAS COMPETITIVE
                ELECTRIC HOLDINGS COMPANY LLC AND CERTAIN OF
                 ITS DEBTOR AFFILIATES, (B) GRANTING ADEQUATE
               PROTECTION, AND (C) MODIFYING THE AUTOMATIC STAY

         Upon the motion (the “Motion”)2 of Texas Competitive Electric Holdings Company LLC

(“TCEH”), Energy Future Competitive Holdings Company LLC (“EFCH”), and each of the

Subsidiary Guarantors (as defined below) (collectively with TCEH and EFCH, the “TCEH

Debtors,” and, together with the other debtors in the above-captioned proceeding, the “Debtors”)

in the above-captioned chapter 11 cases of the TCEH Debtors (collectively, the “Cases”), pursuant

to sections 105, 361, 362, 363, 364(c)(2), 364(c)(3), 364(d)(1), 503, and 507 of title 11 of the

United States Code (as amended, the “Bankruptcy Code”), rules 2002, 4001, and 9014 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2002-1(b), 4001-2,

and 9013-1(m) of the Local Rules of Bankruptcy Practice and Procedure of the United States




1
    The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which the debtors have requested joint administration, a complete list of the debtors and the
    last four digits of their federal tax identification numbers is not provided herein. A complete list of such
    information may be obtained on the website of the debtors’ proposed claims and noticing agent at
    http://www.efhcaseinfo.com.

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    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.



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Bankruptcy Court for the District of Delaware (the “Local Bankruptcy Rules”), seeking entry of

this final order (the “Final Order”) inter alia:

                  (i)     authorizing the TCEH Debtors’ use of Cash Collateral (as defined herein)

of the Prepetition Secured Agents and Prepetition Secured Creditors (each as defined herein);

                  (ii)    granting adequate protection to the First Lien Collateral Agent (as defined

below) and Prepetition First Lien Creditors (as defined below) for any diminution in value of their

respective interests in the Prepetition Collateral (each as defined herein), including the Cash

Collateral; and

                  (iii)   to the extent set forth herein, waiving the TCEH Debtors’ right to surcharge

the Prepetition Collateral pursuant to section 506(c) of the Bankruptcy Code; and

                  (iii)   (iv) vacating or modifying the automatic stay imposed by section 362 of the

Bankruptcy Code to the extent necessary to permit the TCEH Debtors and the First Lien Collateral

Agent on behalf of the Prepetition First Lien Creditors to implement and effectuate the terms and

provisions of this Final Order.

       The Court (as defined below) having considered the Motion, the Declaration of Paul

Keglevic, Executive Vice President, Chief Financial Officer, and Co-Chief Restructuring Officer

of Energy Future Holdings Corp., et al., in Support of First Day Motions, sworn to on April 29,

2014, the exhibits attached thereto, the Declaration of Stephen Goldstein in Support of (I) the

Motion of Texas Competitive Electric Holdings Company LLC and Certain of Its Debtor Affiliates

for Entry of Interim and Final Orders (A) Approving Postpetition Financing, (B) Granting Liens

and Providing Superpriority Administrative Expense Claims, (C) Granting Adequate Protection,

(D) Modifying the Automatic Stay, and (E) Scheduling a Final Hearing and (II) the Motion of

Texas Competitive Electric Holdings Company LLC And Certain of Its Debtor Affiliates for Entry


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of Interim and Final Orders (A) Authorizing Use of Cash Collateral, (B) Granting Adequate

Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final Hearing, sworn to on

April 29, 2014, and the evidence submitted or adduced and the arguments of counsel made at the

interim hearing held on May 1, 2014 (the “Interim Hearing”) and at the final hearing held on June

5, 2014 (the “Final Hearing”); and after due deliberation and consideration, and for good and

sufficient cause appearing therefor;

BASED UPON THE RECORD ESTABLISHED BY THE TCEH DEBTORS AT THE INTERIM

HEARING, THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW:3

        A.       Petition Date: On April 29, 2014 (the “Petition Date”), each of the TCEH Debtors

filed a voluntary petition under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

Court for the District of Delaware (this “Court”) commencing these Cases. On May 1, 2014, this

Court entered an order approving the joint administration of these Cases on an interim basis.

        B.       Debtors in Possession. The TCEH Debtors continue to manage and operate their

businesses and properties as debtors in possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in these Cases.

        C.       Jurisdiction and Venue.            The Court has jurisdiction over this matter, these

proceedings, and the persons and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012. This matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2), and the TCEH Debtors confirm their consent pursuant to Local



3
    Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings of
    fact, pursuant to Bankruptcy Rule 7052.

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Bankruptcy Rule 9013-1(f) to the entry of a final order by the Court in connection with this Motion

to the extent that it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments in connection herewith consistent with Article III of the United States

Constitution. Venue for these Cases is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        D.      Committee. The Office of the United States Trustee for the District of Delaware

(the “U.S. Trustee”) formed an official committee of unsecured creditors in these chapter 11 cases

pursuant to section 1102 of the Bankruptcy Code (athe “Creditors’ Committee”) on May 13, 2014

[D.I. 420].

        E.      Debtor-in-Possession Financing. On the Petition Date, the TCEH Debtors filed a

motion seeking entry of an interim order (the “DIP Order”) authorizing the TCEH Debtors to enter

into that certain Senior Secured Superpriority Debtor-in-Possession Credit Agreement, to be dated

on or about May 2,5, 2014 (the “DIP Credit Agreement”) to obtain secured postpetition financing,

consisting of (a) a revolving credit facility (the “Revolving Credit Facility”) in an aggregate

principal amount of up to $1,950,000,000; (b) a term credit facility (the “Term Loan Facility”) in

an aggregate principal amount of up to $1,425,000,000, of which up to $800,000,000 may be

applied by TCEH to fund the General L/C Collateral Account to support General Letters of Credit

(each, as defined in the DIP Credit Agreement); (c) a delayed-draw term credit facility (the

“Delayed-Draw Term Facility”) in an aggregate principal amount of up to $1,100,000,000, the

proceeds of which, if funded, will be applied by TCEH to fund the RCT L/C Collateral Account to

support RCT Letters of Credit (each, as defined in the DIP Credit Agreement); (d) obligations

owed to the General Letter of Credit Issuer (as defined in the DIP Credit Agreement and without

duplication of any other obligations described in clauses (a), (b), or (c) above) pursuant to a cash

collateralized letter of credit facility (the “General Letter of Credit Facility”) in an aggregate stated


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amount of up to $800,000,000, as such amount may be increased as agreed in writing between

TCEH and the General Letter of Credit Issuers providing such increased amount; and (e)

obligations owed to the RCT Letter of Credit Issuer (as defined in the DIP Credit Agreement and

without duplication of any other obligations described in clauses (a), (b), (c), or (d) above)

pursuant to a cash collateralized letter of credit facility (the “RCT Letter of Credit Facility” and,

collectively with the Revolving Credit Facility, the Term Loan Facility, the Delayed-Draw Term

Facility, and the General Letter of Credit Facility, the “DIP Facility”) in an aggregate stated

amount of up to $1,100,000,000. All references herein to the DIP Order and DIP Credit

Agreement shall be to the form of such order and agreement as they exist as of the date hereof and

without regard to any future amendment, restatement, or other modification thereof.

       F.      TCEH Debtors’ Stipulations. After consultation with their attorneys and financial

advisors, and without prejudice to the rights of parties in interest as described in paragraph 13

herein, the TCEH Debtors stipulate and agree that (collectively, paragraphs F(i) through (v) below

are referred to herein as the “TCEH Debtors’ Stipulations,” which are not findings of the Court):

               (i)     TCEH First Lien Debt.

                       (a)     First Lien Credit Agreement.       Pursuant to that certain credit

agreement dated as of October 10, 2007 (as amended, modified, or supplemented and in effect

immediately prior to the Petition Date, the “First Lien Credit Agreement”), among TCEH, as

borrower, EFCH, as successor to Energy Future Competitive Holdings Company, as parent

guarantor, certain of TCEH’s subsidiaries, including 4Change Energy Company, 4Change Energy

Holdings LLC, Big Brown 3 Power Company LLC, Big Brown Lignite Company LLC, Big

Brown Power Company LLC, Collin Power Company LLC, Decordova Power Company LLC,

Decordova II Power Company LLC, Eagle Mountain Power Company LLC, Generation MT


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Company LLC, Generation SVC Company, Lake Creek 3 Power Company LLC, Luminant Big

Brown Mining Company LLC, Luminant Energy Company LLC, Luminant Energy Trading

California Company, Luminant ET Services Company, Luminant Generation Company LLC,

Luminant Holding Company LLC, Luminant Mineral Development Company LLC, Luminant

Mining Company LLC, Luminant Renewables Company LLC, Martin Lake 4 Power Company

LLC, Monticello 4 Power Company LLC, Morgan Creek 7 Power Company, NCA Resources

Development Company LLC, Oak Grove Management Company LLC, Oak Grove Mining

Company LLC, Oak Grove Power Company LLC, Sandow Power Company LLC, TCEH

Finance, Inc., Tradinghouse 3 & 4 Power Company LLC, Tradinghouse Power Company LLC,

TXU Energy Retail Company LLC, TXU Energy Solutions Company LLC, TXU Retail Services

Company, TXU SEM Company, Valley NG Power Company LLC, and Valley Power Company

LLC, as subsidiary guarantors (collectively, the “Subsidiary Guarantors”), the First Lien

Administrative Agent (as defined below), the First Lien Collateral Agent, and the lenders that are

parties thereto from time to time (the “First Lien Lenders”), TCEH borrowed approximately $24.5

billion prior to the Petition Date (which amount does not reflect the current outstanding balance).

As of the Petition Date, the TCEH Debtors were truly and justly indebted to the First Lien Lenders

pursuant to the First Lien Credit Agreement, without defense, counterclaim, or offset of any kind,

in the aggregate principal amount of $22,635,987,924 plus accrued and unpaid interest with

respect thereto (which, as of the Petition Date, was $227,267,242) and any additional fees, costs,

and expenses (including any attorneys’, financial advisors’, and other professionals’ fees and

expenses that are chargeable or reimbursable under the First Lien Credit Agreement) and all other

Obligations (as defined in the First Lien Credit Agreement) owing under or in connection with the

First Lien Credit Agreement, including, without limitation, any and all obligations owing to the


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First Lien Credit Agent (as defined below). The “First Lien Administrative Agent” shall mean

Citibank, N.A., as administrative agent, until a successor shall replace it, and thereafter shall mean

such successor. The “First Lien Collateral Agent” shall mean Citibank, N.A., as collateral agent,

until a successor shall replace it, and thereafter shall mean such successor. The “First Lien Credit

Agent” shall mean the First Lien Administrative Agent and the First Lien Collateral Agent,

collectively.

                       (b)     First Lien Notes. Pursuant to that certain indenture (the “First Lien

Notes Indenture,” and, together with all other loan documents, security documents (including,

without limitation, the “Security Documents” as defined in the First Lien Credit Agreement and

the First Lien Notes Indenture), and any other documents or instruments related to, referenced in,

or executed in connection with the First Lien Credit Agreement or the First Lien Notes Indenture,

the “First Lien Facilities”), dated April 19, 2011, for the 11.50% senior secured notes (the “First

Lien Notes”) due October 1, 2020, by and among TCEH and TCEH Finance, Inc., as issuers,

BOKF, N.A., as indenture trustee (the “First Lien Notes Trustee,” and together with the First Lien

Credit Agent, the “Prepetition First Lien Agents”), and EFCH and the Subsidiary Guarantors, as

guarantors, TCEH and TCEH Finance, Inc. issued $1.75 billion in principal amount of the First

Lien Notes. As of the Petition Date, the TCEH Debtors were truly and justly indebted to the

holders of the First Lien Notes pursuant to the First Lien Notes Indenture, without defense,

counterclaim, or offset of any kind, in the aggregate principal amount of $1,750,000,000 plus

accrued and unpaid interest with respect thereto and any additional fees, costs, and expenses

(including any attorneys’, financial advisors’, and other professionals’ fees and expenses that are

chargeable or reimbursable under the First Lien Notes Indenture) and all other Obligations (as




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defined in the First Lien Notes Indenture) owing under or in connection with the First Lien Notes

Indenture.

                       (c)    First Lien Hedges and Swaps. The TCEH Debtors are also party to:

(i) Secured Commodity Hedge and Power Sales Agreements (as defined in the First Lien

Intercreditor Agreement (as defined below)) with the respective counterparties thereto (each, a

“Hedge Counterparty,” and such commodity hedges, the “First Lien Commodity Hedges”); and

(ii) Secured Hedging Agreements (as defined in the First Lien Intercreditor Agreement) with the

respective counterparties thereto (each, a “Swap Counterparty,” and such interest rate swaps, the

“First Lien Interest Rate Swaps”). The “Prepetition First Lien Creditors” shall mean the First Lien

Lenders, together with the First Lien Credit Agent, all other “Secured Parties” (as defined in the

First Lien Credit Agreement or the First Lien Intercreditor Agreement), the First Lien Notes

Trustee, the holders of the First Lien Notes, each Hedge Counterparty and each Swap

Counterparty. The “Prepetition First Lien Documents” shall mean the First Lien Facilities, the

First Lien Commodity Hedges, the First Lien Interest Rate Swaps, the First Lien Intercreditor

Agreement, and all other loan documents, security documents, and any other documents or

instruments related to, referenced in, or executed in connection with such agreements.

                       (d)    Prepetition First Lien Obligations.     The “Prepetition First Lien

Obligations” shall mean all of the obligations under the Prepetition First Lien Documents

(collectively, the “First Lien Debt”), together with any amounts paid, incurred, or accrued prior to

the Petition Date in accordance with the Prepetition First Lien Documents, principal, accrued and

unpaid interest, any fees, expenses, and disbursements (including, without limitation, attorneys’

fees, related expenses, and disbursements), indemnities, contingent obligations, reimbursement

obligations, “Hedging Obligations” owed to Secured Parties (as defined in the First Lien


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Intercreditor Agreement), obligations with respect to any “Loan,” “Letter of Credit,” “Deposit L/C

Obligation,” or under any “Secured Cash Management Agreement,” “Secured Commodity

Hedging Agreement,” or “Secured Hedging Agreement” (each as defined in the First Lien Credit

Agreement), indemnification obligations, and other payments, charges, or liabilities of whatever

nature, whether or not contingent, whenever arising, due, or owing in respect thereof to the extent

and as provided for in the Prepetition First Lien Documents, including all “Obligations” as defined

in each of the First Lien Credit Agreement and First Lien Notes Indenture.

                        (e)     First Lien Collateral. The Prepetition First Lien Obligations are

secured by first priority security interests in and liens on (the “Prepetition First Priority Liens”) the

“Collateral” (the “Prepetition Collateral”), as defined in the First Lien Credit Agreement, existing

on the Petition Date (the “Prepetition Collateral”), including substantially all of the TCEH

Debtors’ assets, including accounts receivable and cash to the extent that such cash constitutes

proceeds of other Prepetition Collateral (the “Cash Collateral”). As of the date hereof, all of the

TCEH Debtors’ cash, other than cash held in Account #XXXX0559 at Union Bank, N.A. (such

cash, the “Segregated Cash”), constitutes Cash Collateral. The TCEH Debtors shall maintain the

Segregated Cash in a segregated account, unless otherwise ordered by the Court. Notwithstanding

anything to the contrary contained herein, the Prepetition First Lien Creditors reserve all rights,

claims, and defenses with respect to the Segregated Cash, including as to whether such Segregated

Cash constitutes Cash Collateral.

                        (f)     First Lien Intercreditor Agreement.        The first lien intercreditor

agreement (as amended, restated, modified, and supplemented from time to time, the “First Lien

Intercreditor Agreement”) entered into by and among the TCEH Debtors, the First Lien Credit

Agent, certain Prepetition First Lien Creditors, and other parties thereto from time to time,


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governs, among other things: (i) payment and priority with respect to holders of claims related to

the First Lien Debt; (ii) rights and remedies of the holders of First Lien Debt with respect to

debtor-in-possession financing, use of cash collateral, and adequate protection in a chapter 11

case; and (iii) the priority of liens granted to holders of “Secured Obligations” under a “Secured

Hedging Agreement,” “Secured Cash Management Agreement,” or “Secured Commodity Hedge

and Power Sales Agreement” (each as defined in the First Lien Intercreditor Agreement) pursuant

to ISDA master agreements, schedules, and confirmations related thereto or otherwise.

               (ii)   TCEH Second Lien Debt.

                      (a)     Second Lien Notes. Pursuant to that certain indenture (the “Second

Lien Notes Indenture,” and together with the First Lien Facilities, the “Prepetition Secured

Facilities”), dated October 6, 2010, for the 15.0% second lien notes (the “Second Lien Debt”), by

and among TCEH and TCEH Finance, Inc., as issuers, Wilmington Savings Fund Society, FSB, as

successor to The Bank of New York Mellon Trust Company, N.A., as indenture trustee (the

“Second Lien Trustee”), The Bank of New York Mellon Trust Company, N.A., as collateral agent

(including any successor thereto, the “Second Lien Collateral Agent,” and together with the

Second Lien Trustee, the “Second Lien Agent”), EFCH and the Subsidiary Guarantors, as

guarantors, TCEH and TCEH Finance, Inc. issued approximately $1.57 billion in principal amount

of the Second Lien Debt. The “Prepetition Second Lien Creditors” shall mean the Second Lien

Agent and the holders of Second Lien Debt. The “Prepetition Secured Creditors” shall mean the

Prepetition Second Lien Creditors together with the Prepetition First Lien Creditors.         The

“Prepetition Secured Agents” shall mean the Prepetition First Lien Agents and the Second Lien

Agent.




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                      (b)     Prepetition Second Lien Obligations. The “Prepetition Second Lien

Obligations” shall mean all obligations under the Second Lien Debt, together with any amounts

paid, incurred, or accrued prior to the Petition Date in accordance with the Second Lien Notes

Indenture, principal, accrued and unpaid interest, any fees, expenses, and disbursements

(including, without limitation, attorneys’ fees, related expenses, and disbursements),

reimbursement obligations, indemnification obligations, contingent obligations, and other charges

of whatever nature, whether or not contingent, whenever arising, due, or owing in respect thereof

to the extent and as provided for in the Second Lien Notes Indenture, including all “Obligations”

as described in the Second Lien Notes Indenture. The “Prepetition Secured Obligations” shall

mean the Prepetition First Lien Obligations together with the Prepetition Second Lien Obligations.

                      (c)     Second Lien Collateral. The Prepetition Second Lien Obligations

are purportedly secured by second priority liens (the “Prepetition Second Priority Liens”) in the

Prepetition Collateral, as set forth in that certain second lien security agreement (as amended,

restated, modified, and supplemented from time to time, the “Second Lien Security Agreement”),

dated as of October 6, 2010, by and among the TCEH Debtors and the Second Lien Agent.

                      (d)     Second Lien Intercreditor Agreement. The second lien intercreditor

agreement (as amended, restated, modified, and supplemented from time to time, the “Second Lien

Intercreditor Agreement”) by and among the TCEH Debtors, the Prepetition First Lien Agents,

and the Second Lien Agent governs, among other things, the relative priority of the First Lien Debt

and the Second Lien Debt and the relative rights and remedies of the holders of First Lien Debt and

Second Lien Debt with respect to, among other things, debtor-in-possession financing, use of cash

collateral, and adequate protection. In particular, pursuant to section 6.04 of the Second Lien

Intercreditor Agreement, holders of Second Lien Debt are bound by the actions and consents of the


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First Lien Collateral Agent, the Prepetition First Lien Agents or the Prepetition Secured Creditors

under the First Lien Intercreditor Agreement with respect to any debtor-in-possession financing or

use of cash collateral, and the Second Lien Agent and holders of Second Lien Debt are prohibited

from objecting to such debtor-in-possession financing or use of cash collateral to the extent that the

First Lien Collateral Agent, the Prepetition First Lien Agents or the Prepetition Secured Creditors

consent.

               (iii)   Tex-La Obligations. In addition to the Prepetition Secured Obligations,

EFCH is the principal obligor of, and Energy Future Holdings Corp. (“EFH Corp.”) guarantees,

approximately $62 million of obligations related to a series of transactions by and among the

predecessors of EFH Corp. and EFCH, on the one hand, and the Tex-La Electric Cooperative of

Texas, Inc. (“Tex-La”), on the other hand (such obligations, the “Tex-La Obligations”), as

provided in that certain assumption agreement (the “Tex-La Assumption Agreement,” and

together with all related agreements, the “Tex-La Documents”), dated February 1, 1990, by and

among EFCH, Tex-La, and the administrator of the Rural Utilities Service, an agency of the

United States Department of Agriculture, whereby EFCH agreed to assume certain outstanding

indebtedness of Tex-La. Approximately $29 million and $33 million of the Tex-La Obligations

are due in 2019 and 2021, respectively. As of May 2, 2014, the Tex-La Obligations are

purportedly secured by a 2.17% undivided ownership in Comanche Peak’s electricity generation

and transmission assets and a 6.02% undivided ownership interest in the 51.5 mile 345 kV

Comanche Peak-Cleburne-Everman transmission facility (the “Tex-La Collateral,” and the liens

on the Tex-La Collateral, the “Tex-La Liens”). The Prepetition First Priority Liens and the

Prepetition Second Priority Liens were granted subject to the Tex-La Liens.




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                (iv)    Validity, Perfection, and Priority of Prepetition First Priority Liens and

Prepetition First Lien Obligations. Subject to the provisions of paragraph 13 of this Final Order,

each of the TCEH Debtors acknowledges and agrees that: (a) as of the Petition Date, the

Prepetition First Priority Liens are valid, binding, enforceable, non-avoidable, and properly

perfected liens on and security interests in the Prepetition Collateral; (b) subject to the Tex-La

Liens, as of the Petition Date, the Prepetition First Priority Liens are senior in priority over any and

all other liens on the Prepetition Collateral; (c) the Prepetition First Lien Obligations constitute

legal, valid, binding, and non-avoidable obligations of the TCEH Debtors; (d) no offsets,

challenges, objections, defenses, claims, or counterclaims of any kind or nature to any of the

Prepetition First Priority Liens or Prepetition First Lien Obligations exist, and no portion of the

Prepetition First Priority Liens or Prepetition First Lien Obligations is subject to any challenge or

defense including, without limitation, impairment, set-off, right of recoupment, avoidance,

attachment, disallowance, disgorgement, reduction, recharacterization, recovery, subordination

(whether equitable or otherwise), counterclaims, or cross-claims, pursuant to the Bankruptcy Code

or applicable nonbankruptcy law; and (e) the TCEH Debtors and their estates have no claims,

objections, challenges, causes of actions, and/or choses in action, including, without limitation,

“lender liability” causes of action or avoidance claims under chapter 5 of the Bankruptcy Code,

whether arising under applicable state law or federal law (including, without limitation, any

recharacterization, subordination, avoidance, disgorgement, recovery or other claims arising under

or pursuant to sections 105, 510, or 542 through 553 of the Bankruptcy Code), against the

Prepetition First Lien Creditors or any of their respective affiliates, agents, attorneys, advisors,

professionals, officers, directors, and employees arising out of, based upon, or related to their loans




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under the First Lien Facilities, the Prepetition First Lien Obligations, or the Prepetition First

Priority Liens.

                  (v)    Satisfaction of Certain Conditions in the First Lien Intercreditor

Agreement. The terms and provisions of this Final Order, the DIP Credit Agreement, and DIP

Order satisfy the conditions set forth in Section 6.1(a)(i)-(iii) of the First Lien Intercreditor

Agreement.

        G.        Adequate Protection. The First Lien Collateral Agent, for the benefit of itself and

the Prepetition First Lien Creditors, to protect such parties’ interests in the Prepetition Collateral,

and in exchange for consenting to the priming liens contained in the DIP Facility approved

pursuant to the DIP Order, is entitled to receive adequate protection for any aggregate diminution

in value of their respective interests in the Prepetition Collateral from and after the Petition Date

resulting from the imposition of such priming liens and the use of Cash Collateral, the use, sale,

lease, consumption, or disposition of Prepetition Collateral (which shall be valued as of the

Petition Date on a going-concern basis), or, and the imposition of the automatic stay (collectively

the “Diminution in Value”) pursuant to sections 361, 362, and 363 of the Bankruptcy Code.

Pursuant to sections 361, 363, 364(d)(1), and 507(b) of the Bankruptcy Code, as adequate

protection, (i) the First Lien Collateral Agent, for the benefit of itself and the Prepetition First Lien

Creditors, will receive (a) the First Priority Adequate Protection Liens (as defined below) and (b)

the First Priority 507(b) Claim (as defined below), and (ii) each of the First Lien Administrative

Agent, the First Lien Notes Trustee, each Hedge Counterparty and each Swap Counterparty, for

the benefit of themselves and the respective Prepetition First Lien Creditors for which they act as

agent, will receive from the TCEH Debtors their ratable share (based on their respective

Prepetition First Lien Obligations owing as of the Petition Date) of the aggregate amount of the


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First Lien Adequate Protection Payments (as defined below). The Second Lien Agent will receive,

for the benefit of itself and the Prepetition Second Lien Creditors, (i) the Second Priority Adequate

Protection Liens (as defined below) and (ii) the Second Priority 507(b) Claim (as defined below).

Tex-La will receive Tex-La Adequate Protection Payments (as defined below) as adequate

protection for theany Diminution in Value of its interests in the Tex-La Collateral. The adequate

protection provided herein and other benefits and privileges contained herein are necessary to (i)

protect the Prepetition Secured Creditors and Tex-La from theany Diminution in Value of their

interests in the Prepetition Collateral and the Tex-La Collateral (if any), respectively, and (ii)

obtain the consents and agreements contained herein, including that the Adequate Protection Liens

(as defined below) are subject and subordinate only to (a) the Carve Out (as defined below), (b) the

RCT Reclamation Support Carve Out (as defined in the DIP Order), (c) the DIP Liens (as defined

in the DIP Order), but, in the case of liens granted on account of Secured Commodity Hedging

Agreements and Secured Hedging Agreements (each as defined in the DIP Credit Agreement),

only to the extent such agreements constitute “Permitted Secured Commodity Hedge Agreements”

under the “first day” order authorizing the TCEH Debtors to, among other things, continue

performing under their hedging and trading arrangements, (d) the Permitted Prior Liens (as

defined in the DIP Order), and (e) the Permitted Liens (as defined in the DIP Credit Agreement)

(such carve outs and liens set forth in clauses (a) through (e), the “Senior Carve Outs and Liens”),

and that the 507(b) Claim (as defined below) is subject and subordinate only to the Carve Out, the

RCT Reclamation Support Carve Out, and the DIP Superpriority Claims (as defined in the DIP

Order). For the avoidance of doubt, the Prepetition Second Lien Creditors are not entitled to any

other form of adequate protection, and are precluded from objecting to any and all aspects of this




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Final Order pursuant to section 6.04 of the Second Lien Intercreditor Agreement, as discussed in

paragraph F(ii)(d) above.

       H.      Sections 506(c) andSection 552(b). In light of the Prepetition First Lien Agents’

and Prepetition First Lien Creditors’ agreement to subordinate the Prepetition First Priority Liens

and the First Priority Adequate Protection Liens to the Senior Carve Outs and Liens, to subordinate

the First Priority 507(b) Claim to the Carve Out, the RCT Reclamation Support Carve Out, and the

DIP Superpriority Claims, and to permit the use of their Cash Collateral as set forth herein, the

Prepetition First Lien Creditors are entitled to the rights and benefits of section 552(b) of the

Bankruptcy Code and (i) athe TCEH Debtors’ waiver of any “equities of the case” claims under

section 552(b) of the Bankruptcy Code and (ii) a waiver of the provisions of section 506(c) of the

Bankruptcy Code.

       I.      Consent by First Lien Secured Parties. The First Lien Collateral Agent and the

TCEH First Lien Ad Hoc Committee have consented to, conditioned on the entry of this Final

Order, (i) the priming liens and other terms of the DIP Facility approved pursuant to the DIP

Order, (ii) the TCEH Debtors’ proposed use of Cash Collateral, on the terms and conditions set

forth in this Final Order, and (iii) the terms of the adequate protection provided for in this Final

Order, including, without limitation, that the Adequate Protection Liens are subject and

subordinate only to the Senior Carve Outs and Liens, and that the 507(b) Claim is subject and

subordinate only to the Carve Out, the RCT Reclamation Support Carve Out, and the DIP

Superpriority Claims, and such consent is binding on all Prepetition First Lien Creditors.

       J.      Necessity of Relief Requested. The ability of the TCEH Debtors to finance their

operations and complete a successful chapter 11 reorganization requires continued use of Cash

Collateral. In the absence of the use of Cash Collateral, the continued operation of the TCEH


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Debtors’ businesses would not be possible and immediate and irreparable harm to the TCEH

Debtors, their estates, and their creditors would occur. The TCEH Debtors do not have sufficient

available sources of working capital and financing to operate their businesses in the ordinary

course of business or to maintain their property without the use of Cash Collateral. The relief

requested in the Motion is therefore necessary for the continued operation of the TCEH Debtors’

businesses and the preservation of their property. The Prepetition First Lien Creditors and the

TCEH Debtors have negotiated at arms’ length and in good faith regarding the TCEH Debtors’ use

of Cash Collateral to fund the continued operation of the TCEH Debtors’ businesses during the

Specified Period (as defined below). Entry of this Final Order is in the best interests of the TCEH

Debtors and their estates.

       K.      Good Cause Shown; Best Interest. Absent entry of this Final Order, the TCEH

Debtors’ businesses, properties, and estates will be immediately and irreparably harmed. This

Court concludes that good cause has been shown and entry of this Final Order is in the best

interests of the TCEH Debtors’ respective estates and creditors as its implementation will, among

other things, allow for the continued operation of the TCEH Debtors’ existing businesses and

enhance the TCEH Debtors’ prospects for a successful reorganization.

       L.      Notice. In accordance with Bankruptcy Rules 2002, 4001(b), (c), and (d), and

9014, and the Local Bankruptcy Rules, notice of the Final Hearing and the relief requested in the

Motion has been provided by the TCEH Debtors via first class mail to: (a) the Office of the U.S.

Trustee for the District of Delaware; (b) the entities listed on the Consolidated List of Creditors

Holding the 50 Largest Unsecured Claims filed pursuant to Bankruptcy Rule 1007(d) and

proposed counsel thereto; (c) Wilmington Trust, N.A., in its capacity as administrative agent under

the TCEH first lien credit agreement and collateral agent under the TCEH intercreditor agreements


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and counsel thereto; (d) Bank of New York Mellon Trust Company, N.A., in its capacity as

indenture trustee under: (i) the TCEH unsecured pollution control revenue bonds; and (ii) the

EFCH 2037 Notes due 2037, and counsel thereto; (e) American Stock Transfer & Trust Company,

LLC, in its capacity as indenture trustee under: (i) the 9.75% EFH senior unsecured notes due

2019; (ii) the 10.0% EFH senior unsecured notes due 2020; (iii) the 10.875% EFH LBO senior

unsecured notes due 2017; (iv) the 11.25%/12.0% EFH LBO toggle notes due 2017; (v) the 5.55%

EFH legacy notes (series P) due 2014; (vi) the 6.50% EFH legacy notes (series Q) due 2024; and

(vii) the 6.55% EFH legacy notes (series R) due 2034, and counsel thereto; (f) Computershare

Trust Company, N.A. and Computershare Trust Company of Canada, in their capacities as

indenture trustee under: (i) the 11.0% EFIH senior secured second lien notes due 2021; and (ii) the

11.75% EFIH senior secured second lien notes due 2022, and counsel thereto; (g) UMB Bank,

N.A. in its capacity as indenture trustee under: (i) the 9.75% EFIH senior unsecured notes due

2019; and (ii) the 11.25%/12.25% EFIH senior toggle notes due 2018, and counsel thereto; (h)

BOKF, NA, dba Bank of Arizona, in its capacity as indenture trustee under 11.50% TCEH senior

secured notes due 2020, and counsel thereto; (i) CSC Trust Company of Delaware in its capacity

as indenture trustee under: (i) the 6.875% EFIH senior secured notes due 2017; and (ii) the 10.0%

EFIH senior secured notes due 2020, and counsel thereto; (j) Law Debenture Trust Company of

New York in its capacity as indenture trustee under: (i) the 10.25% TCEH senior unsecured notes

due 2015; and (ii) the 10.50%/11.25% TCEH senior toggle notes due 2016, and counsel thereto;

(k) Wilmington Savings Fund Society, FSB in its capacity as indenture trustee under the 15.0%

TCEH senior secured second lien notes due 2021, and counsel thereto; (l) counsel to certain

holders of claims against the Debtors regarding each of the foregoing described in clauses (c)

through (k); (m) the agent for the TCEH debtor-in-possession financing facility and counsel


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thereto; (n) the agent for the EFIH debtor-in-possession financing facility and counsel thereto; (o)

counsel to certain holders of equity in Texas Energy Future Holdings Limited Partnership; (p)

counsel to the Ad Hoc Committee of TCEH Unsecured Noteholders; (q) counsel to the Ad Hoc

Committee of TCEH Second Lien Noteholders; (r) counsel to Oncor Electric Delivery Holdings

Company LLC; (s) the Securities and Exchange Commission; (t) the Internal Revenue Service; (u)

the Office of the United States Attorney for the District of Delaware; (v) the Office of the Texas

Attorney General on behalf of the Public Utility Commission of Texas; (w) counsel to the Electric

Reliability Council of Texas; (v) the RCT; (w) the counterparties to the First Lien Commodity

Hedges and First Lien Interest Rate Swaps; and (x) counsel to the unofficial committee of certain

TCEH first lien debt holders (the “TCEH First Lien Ad Hoc Committee”), Paul, Weiss, Rifkind,

Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York 10019, Attn:

Alan W. Kornberg, Esq. and Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 King

Street, Wilmington, Delaware 19801, Attn: Pauline K. Morgan, Esq; and (y) counsel to the

Creditors’ Committee. The parties have made reasonable efforts to afford the best notice possible

under the circumstances to permit the relief set forth in this Final Order, and no other or further

notice is or shall be required.

        Based upon the foregoing findings and conclusions, the Motion and the record before the

Court with respect to the Motion, and good and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED that:

        1.      Motion Granted. The Motion is granted on a final basis as set forth herein, and the

use of Cash Collateral on a final basis is authorized, subject to the terms of this Final Order.

        2.      Objections Overruled. All objections to the Motion to the extent not withdrawn or

resolved are overruled. This Final Order shall become effective immediately upon its entry.


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       3.         Authorization to Use Cash Collateral.

                  (a)    Specified Period. Subject to the terms and conditions of this Final Order,

the TCEH Debtors are authorized to use Cash Collateral for the period (the “Specified Period”)

from the Petition Date through the date which is the earliest to occur of (i) the expiration of the

Remedies Notice Period (as defined herein), (ii) entry of the Final Order, or (iii) [45 days from the

Petition Date.]

                  (b)    Use of Cash Collateral. Subject to the provisions of this Final Order, Cash

Collateral may be used during the Specified Period by the TCEH Debtors to: (i) finance any and

all working capital needs solely of the TCEH Debtors and for any other general corporate purposes

of the TCEH Debtors (and not for or by any other affiliated entities) including, without limitation,

to provide collateral for Letters of Credit (as defined in the DIP Credit Agreement) for general

corporate purposes required in the ordinary course of the TCEH Debtors’ business, (x) to provide

collateral support in respect of financial or physical trading transactions incurred in the ordinary

course of the TCEH Debtors’ business, including commodities transactions, (y) to honor

intercompany obligations incurred in the ordinary course of the TCEH Debtors’ business and to

act consistently with the TCEH Debtors’ existing cash management practices that have been

utilized in the ordinary course of business to date under present collateral agreement(s), but in each

case only to the extent permitted under the “first day” order authorizing the TCEH Debtors to,

among other things, continue using their existing cash management system (as otherwise amended

or modified with the reasonable consent of the TCEH First Lien Ad Hoc Committee, the “Cash

Management Order”), and (z) to comply with any legal and/or regulatory requirements of

governmental and quasi-governmental entities (including for posting bonds and remediation or

reclamation obligations of any nature (such as with the Railroad Commission of Texas, but only


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after the TCEH Debtors have utilized any amounts available under the DIP Facility for the purpose

of satisfying bonding requirements of the Railroad Commission of Texas), complying with any

statutory or regulatory requirements and for self-bonding in respect of permits and licenses) of the

TCEH Debtors; and (ii) pay related transaction costs, fees, liabilities and expenses (including all

professional fees and expenses) and other administration costs incurred in connection with and for

the benefit of the TCEH Debtors’ chapter 11 cases (including Adequate Protection Payments

(defined below)) and the commitment, negotiation, syndication, documentation (including any

commitment letters), execution, and closing of the DIP Facility. Notwithstanding anything herein

to the contrary, the TCEH Debtors shall not be permitted to transfer any Cash Collateral to, or use

any Cash Collateral to make payments or other transfers on behalf of, any of the Debtors other than

the TCEH Debtors; provided, however, that the foregoing shall not restrict intercompany

payments and other transfers of Cash Collateral in connection with any bankruptcy-related

expenses (including payment of professionals’ fees) or pursuant to the Shared Services

Agreement, Tax Sharing Agreement, and subleases of property from any Specified Affiliate to the

Borrower or any of the Restricted Subsidiaries, to the Specified Affiliates (all as defined in the DIP

Credit Agreement), but only to the extent that such payments or other transfers are permitted under

the Cash Management Order.

       4.      Consent to Priming Liens. Subject to the terms of this Final Order, the Prepetition

Secured Creditors are deemed to have consented to the imposition of the priming liens contained in

the DIP Credit Agreement approved pursuant to the DIP Order.

       5.      Adequate Protection. The Prepetition Secured Creditors are entitled pursuant to

sections 361,361 and 363(c), and 364 of the Bankruptcy Code to adequate protection of their

interests in the Prepetition Collateral (including Cash Collateral) to the extent of any Diminution in


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Value of their interests in the Prepetition Collateral (which shall be valued as of the Petition Date

on a going-concern basis). The First Lien Collateral Agent and the Second Lien Agent, in each

case, on behalf of themselves and for the benefit of each of the respective Prepetition Secured

Creditors for which they act as agent, are hereby granted, as applicable, to the extent of any

Diminution in Value of their interests in the Prepetition Collateral from and after the Petition Date,

the following:

                 (a)   Adequate Protection Liens. As adequate protection of the interests of the

Prepetition Secured Creditors in the Prepetition Collateral against any Diminution in Value of such

interests, pursuant to sections 361 and 363(e) of the Bankruptcy Code, the TCEH Debtors are

authorized to, and as of entry of this Final Order are deemed to have granted, to the First Lien

Collateral Agent and the Second Lien Agent, for the benefit of themselves and each of the

Prepetition Secured Creditors for which they act as agent, additional and replacement continuing

valid, binding, enforceable, non-avoidable, and automatically perfected postpetition security

interests in and liens on (together, the “Adequate Protection Liens”) the “DIP Collateral” (as

defined in the DIP Order), whether now owned or hereafter acquired or existing wherever located,

of each TCEH Debtor and TCEH Debtor’s “estate” (as created pursuant to section 541(a) of the

Bankruptcy Code), including the Segregated Cash; provided, however, that the DIP Collateral

shall exclude the TCEH Debtors’ claims and causes of action under chapter 5 of the Bankruptcy

Code (other than causes of action arising under section 549 of the Bankruptcy Code and any

related action under section 550 of the Bankruptcy Code), or any other avoidance actions under the

Bankruptcy Code (collectively, “Avoidance Actions”), but subject only to, and effective upon,

entry of this Final Order, shall include any proceeds or property recovered, unencumbered, or

otherwise the subject of successful Avoidance Actions, whether by judgment, settlement, or


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otherwiseUnencumbered Property, Avoidance Actions, and Excluded Collateral (each, as defined

in the DIP Order), and the proceeds thereof. The Adequate Protection Liens shall rank in the same

relative priority and right as do the respective security interests and liens of the respective

Prepetition Secured Facilities as of the Petition Date and shall be subject and subordinate only to

the Senior Carve Outs and Liens. The Adequate Protection Liens granted to the First Lien

Collateral Agent, for the benefit of itself and the Prepetition First Lien Creditors (collectively, the

“First Priority Adequate Protection Liens”) shall be pari passu as between the First Lien

Administrative Agent, the First Lien Notes Trustee, each Hedge Counterparty and each Swap

Counterparty, and the Adequate Protection Liens granted to the Second Lien Agent (the “Second

Priority Adequate Protection Liens”) shall be junior and subordinate to the First Priority Adequate

Protection Liens, as provided in and consistent with the Second Lien Intercreditor Agreement.

The Adequate Protection Liens shall secure the Prepetition Secured Obligations to the extent of

any Diminution in Value of the Prepetition Secured Creditors’ interests in the Prepetition

Collateral from and after the Petition Date. The Adequate Protection Liens shall be enforceable

against the TCEH Debtors, their estates, and any successors thereto, including, without limitation,

any trustee or other estate representative appointed in these Cases, or any case under chapter 7 of

the Bankruptcy Code upon the conversion of any of these Cases, or in any other proceedings

superseding or related to any of the foregoing (collectively, “Successor Cases”). Except as

provided herein, including, without limitation, the Senior Carve Outs and Liens, the Adequate

Protection Liens shall not be made subject to or pari passu with any lien or security interest

heretofore or hereinafter granted in the Cases or any Successor Cases, and the Adequate Protection

Liens shall be valid and enforceable against any trustee or other estate representative appointed in

any of these Cases or any Successor Cases, or upon the dismissal of any of these Cases or


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Successor Cases. The Adequate Protection Liens shall not be subject to sections 510, 549, or 550

of the Bankruptcy Code and, if approved in the Final Order, the Adequate Protection Liens shall

not be subject to section 506(c) of the Bankruptcy Code. The Adequate Protection Liens shall be

deemed legal, valid, binding, enforceable, and perfected liens, not subject to subordination,

impairment, or avoidance, for all purposes in these Cases and any Successor Cases. For the

avoidance of doubt, the Adequate Protection Liens shall be deemed to be effective and perfected

automatically as of the Petition Date and without the necessity of the execution by the TCEH

Debtors, or the filing of, as applicable, mortgages, security agreements, pledge agreements,

financing statements, state or federal notices, recordings (including, without limitation, any

recordings with the United States Patent and Trademark or Copyright Office), or other agreements

and without the necessity of taking possession or control of any Prepetition Collateral. Except as

otherwise expressly provided herein, under no circumstances shall the Adequate Protection Liens

be made subordinate to the lien of any other party, no matter when arising.

               (b)     Adequate Protection Superpriority Claim. To the extent of any Diminution

in Value of the interests of the Prepetition Secured Creditors in the Prepetition Collateral (if any),

the First Lien Collateral Agent and the Second Lien Agent, on behalf of themselves and the

applicable Prepetition Secured Creditors for which they act as agent, shall be granted, subject to

the payment of the Carve Out and the RCT Reclamation Support Carve Out, an allowed

superpriority administrative expense claim pursuant to sections 503(b), 507(a), and 507(b) of the

Bankruptcy Code, immediately junior to the DIP Superpriority Claims (the “507(b) Claim”),

which 507(b) Claim shall be an allowed claim against each of the TCEH Debtors (jointly and

severally), with priority (except as otherwise provided herein) over any and all administrative

expenses and all other claims against the TCEH Debtors now existing or hereafter arising, of any


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kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, and all other administrative

expenses or other claims arising under any other provision of the Bankruptcy Code, including,

without limitation, sections 105, 326, 327, 328, 330, 331, 503(b), 507(a), 507(b), or 1114 of the

Bankruptcy Code, whether or not such expenses or claims may become secured by a judgment lien

or other nonconsensual lien, levy, or attachment. The 507(b) Claim shall be payable from and

have recourse to (i) upon entry of the Final Order, the proceeds of the Avoidance Actions, and (ii)

all pre- and post-petition property of the TCEH Debtors, including the Segregated Cash and any

unencumbered assetsonly the DIP Collateral (as described in paragraph 5(a)), subject and

subordinate only to the Carve Out, the RCT Reclamation Support Carve Out, and the DIP

Superpriority Claims. The 507(b) Claim shall rank respectively among the Prepetition Secured

Creditors in the same right and priority as do the respective claims thereof as of the Petition Date,

provided that the Prepetition Secured Agents and Prepetition Secured Creditors shall not receive or

retain any payments, property, or other amounts in respect of the 507(b) Claim granted hereunder

or under the Prepetition Secured Facilities unless and until all of the DIP Obligations (as defined in

the DIP Order) (excluding the Secured Hedge Obligations (as defined in the DIP Order), the

Secured Cash Management Obligations (as defined in the DIP Order), and Contingent Obligations

(as defined in the DIP Credit Agreement)) have been indefeasibly paid in full, in cash, all

Commitments (as defined in the DIP Credit Agreement) have been terminated, and all Letters of

Credit have been cancelled (or all such Letters of Credit have been fully cash collateralized or

otherwise back-stopped, in each case to the satisfaction of the applicable DIP L/C Issuers (as

defined in the DIP Order)). The 507(b) Claim granted to the First Lien Collateral Agent, for the

benefit of itself and the Prepetition First Lien Creditors (collectively, the “First Priority 507(b)

Claim”), shall be pari passu as between the First Lien Administrative Agent, the First Lien Notes


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Trustee, each Hedge Counterparty and each Swap Counterparty, and the 507(b) Claim granted to

the Second Lien Agent (the “Second Priority 507(b) Claim”) shall be immediately junior to the

First Priority 507(b) Claim, as provided in and consistent with the Second Lien Intercreditor

Agreement.

               (c)     Fees and Expenses. The TCEH Debtors are authorized and directed to pay,

within ten (10) calendar days of delivery of an invoice (which shall include reasonable supporting

detail, which may be redacted to protect privileged or confidential information), (i) all reasonable

and documented fees and expenses incurred by the Prepetition First Lien Agents, including,

without limitation, the reasonable and documented fees and expenses of Seward & Kissel LLP as

counsel to the First Lien Credit Agent, one local counsel retained by each Prepetition First Lien

Agent, and Milbank, Tweed, Hadley & McCloy LLP, solely for fees and expenses incurred as

counsel to Citibank, N.A., in its capacity as current and, upon the effectiveness of its resignation,

former First Lien Credit Agent), and (ii) all reasonable and documented fees and expenses incurred

by the TCEH First Lien Ad Hoc Committee, including, without limitation, (A) the reasonable and

documented fees and expenses of Paul, Weiss, Rifkind, Wharton & Garrison LLP, Winstead PC,

and Young Conaway Stargatt & Taylor, LLP, as counsel to the TCEH First Lien Ad Hoc

Committee, (B) the reasonable and documented fees and expenses incurred by Millstein & Co.,

L.P. pursuant to that certain engagement letter between TCEH and Millstein & Co., L.P., dated as

of February 1, 2013, as financial advisor to the TCEH First Lien Ad Hoc Committee, and (C) the

reasonable and documented fees and expenses of a tax advisor and energy consultant to the TCEH

First Lien Ad Hoc Committee. Payment of all such fees and expenses shall not be subject to

allowance by the Court; provided, however, that the TCEH Debtors shall promptly provide copies

of invoices received on account of the fees and expenses set forth above to the U.S. Trustee and


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counsel to anythe Creditors’ Committee appointed in the TCEH Debtors’ Cases, and the Court

shall have exclusive jurisdiction over any objections raised to the invoiced amount of the fees and

expenses proposed to be paid, which objections may only be raised within ten (10) calendar days

after delivery of an invoice(s) therefor. In the event that within ten (10) calendar days from

delivery of such invoices the TCEH Debtors, the U.S. Trustee, or counsel to the Creditors’

Committee raises an objection to a particular invoice, and the parties are unable to resolve such

objection, the Court shall hear and determine such dispute; provided, that payment of invoices

shall not be delayed based on any such objections and the relevant professional shall only be

required to disgorge amounts objected to upon being “so ordered” pursuant to. For the avoidance

of doubt, the TCEH Debtors shall pay only fees and expenses not subject to an objection, and to the

extent any objection is not resolved or withdrawn, the TCEH Debtors shall pay the disputed

amounts only upon entry of a final order of the Court resolving such dispute.

                      (d)     Adequate Protection Payments.           Each of the First Lien

Administrative Agent, the First Lien Notes Trustee, each Hedge Counterparty and each Swap

Counterparty shall receive from the TCEH Debtors, for the benefit of themselves and the

respective Prepetition First Lien Creditors for which they act as agent, monthly adequate

protection payments (the “First Lien Adequate Protection Payments”). The aggregate amount of

First Lien Adequate Protection Payments shall be determined by applying a per annum rate equal

to [the LIBOR Rate (as defined in the DIP Credit Agreement) + 450 basis points to the aggregate

outstanding amount of Prepetition First Lien Obligations as of the Petition Date in respect of such

relevant periods ending after the Petition Date] (and, for the avoidance of doubt, not at any

different contract rate of interest set forth in any Prepetition First Lien Documents). Each month,

each of the First Lien Administrative Agent, the First Lien Notes Trustee, each Hedge


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Counterparty and each Swap Counterparty, for the benefit of themselves and the respective

Prepetition First Lien Creditors for which they act as agent, shall receive from the TCEH Debtors

their ratable share (calculated based on the proportion that the Prepetition First Lien Obligations

outstanding under each of the Prepetition First Lien Documents bears to the aggregate amount of

all outstanding Prepetition First Lien Obligations) of the aggregate amount of the First Lien

Adequate Protection Payments (with the right to receive default contract rate interest deemed

expressly waived hereby to the extent Adequate Protection Payments are paid as provided above).

Notwithstanding anything contained in this paragraph 5(d) to the contrary, the Prepetition First

Lien Creditors reserve the right to assert claims for the payment of additional interest calculated at

any other applicable rate of interest (including, without limitation,but not at the default contract

rates), or on any other basis, provided for under the Prepetition First Lien Documents, and for the

payment of any other amounts provided for in the Prepetition First Lien Documents. The First

Lien Adequate Protection Payments will be calculated on a monthly basis, and be due and payable

on the first business day of each month beginning in the first full month that is at least twenty-five

(25) days following the Petition Date. Tex-La shall receive from the TCEH Debtors current

payments of principal and interest (the “Tex-La Adequate Protection Payments,” and together with

the First Lien Adequate Protection Payments, the “Adequate Protection Payments”) at the

non-default rate provided under the Tex-La Documents, notwithstanding any acceleration

provided for as a result of a chapter 11 bankruptcy filing or otherwise. Any Adequate Protection

Payment shall be without prejudice, and with a full reservation of rights, as to whether such

payment should be recharacterized or reallocated pursuant to section 506(b) of the Bankruptcy

Code as payments under the First Lien Facilities or Tex-La Documents, as applicable (whether as

to principal, interest, or otherwise).


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               (e)     Budget and Annual Forecast Reporting. TCEH will provide the Prepetition

First Lien Agents and, the professional advisors to the TCEH First Lien Ad Hoc Committee, and

the Creditors’ Committee with all financial reporting to be provided under or in connection with

the DIP Order and DIP Credit Agreement, including, without limitation, a statement of cash

sources and uses of all free cash flow for the next full three (3)-calendar months of the TCEH

Debtors (on a consolidated basis) following entry of the DIP Order, broken down by month (the

“Budget”), in the form of the Initial Budget (as defined in the DIP Credit Agreement) attached to

the DIP Credit Agreement as Exhibit M, including the anticipated uses of the Cash Collateral for

such period, and after such three (3)-calendar month period, at the end of each fiscal quarter (or, at

the election of TCEH, at the end of each calendar month or such other earlier period as may be

agreed), an updated Budget for the subsequent three (3)-month period. TCEH will also provide,

the Prepetition First Lien Agents and, the professional advisors to the TCEH First Lien Ad Hoc

Committee, and the Creditors’ Committee, on a monthly basis, with a variance report for each

calendar month (delivered no later than the end of the subsequent calendar month), (i) showing a

statement of actual cash sources and uses of all free cash flow for the immediately preceding

calendar month, noting therein all material variances from values set forth for such historical

periods in the most recently delivered Budget, including explanations for all material variances,

and (ii) certified as to its reasonableness when made by an Authorized Officer (as defined in the

DIP Credit Agreement) of TCEH. Beginning on the date 60 days after the entry of the DIP Order

(and again no later than December 1, 2014 for the business plan and operating budget covering

2015, and no later than December 1, 2015 for the business plan and operating budget covering

2016), the TCEH Debtors will provide the Prepetition First Lien Agents and the Creditors’

Committee with the approved annual business plan and projected operating budget through the


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DIP Facility’s stated maturity date (the “Annual Operating Forecast”), (x) which shall be broken

down by month, including, without limitation, income statements, balance sheets, cash flow

statements, projected capital expenditures, asset sales, a line item for total available liquidity for

the period of such Annual Operating Forecast and (y) which shall set forth the anticipated uses of

the DIP Facility for such period, certified as to its reasonableness when made by an Authorized

Officer of TCEH. Both the Budget and the Annual Operating Forecast shall provide, among other

things, for the payment of the fees and expenses relating to the DIP Facility and this Final Order,

ordinary course administrative expenses, the Adequate Protection Payments, bankruptcy-related

expenses and working capital, expected issuances and renewals of Letters of Credit, and other

general corporate needs; provided, however, that fees and expenses as set forth in paragraph (c)

above will be due and payable, and will be paid by the TCEH Debtors whether or not consistent

with the items or amounts set forth in the Budget or the Annual Operating Forecast; and provided

further, that under no circumstance will the Budget or the Annual Operating Forecast be construed

as a cap or limitation on the amount of those fees and expenses due and payable by the TCEH

Debtors.

               (f)     Financial Covenant. For any Test Period (as defined in the DIP Credit

Agreement) beginning with the Test Period ending on June 30, 2014 (the “Financial Covenant”),

the ratio of (i) the Consolidated Superpriority Secured Net Debt to (ii) Consolidated EBITDA (as

defined in the DIP Credit Agreement) shall not exceed (x) if the RCT Carve Out Support Rejection

Notice (as defined in the DIP Credit Agreement) has not been issued and delivered on or prior to

such Test Period, 3.50 to 1.00 and (y) for all other Test Periods, 4.50 to 1.00. “Consolidated

Superpriority Secured Net Debt” shall mean the indebtedness resulting from (i) outstanding

principal amount of Term Loans, plus (ii) outstanding principal amount of Delayed-Draw Term


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Loans, plus (iii) the aggregate amount of undrawn Revolving Credit Commitments, plus (iv) the

aggregate principal amount of Revolving Credit Loans then outstanding, less (v) the aggregate

amount of all Unrestricted Cash, which Unrestricted Cash shall not include cash in the RCT L/C

Collateral Account or General L/C Collateral Account (all as defined in the DIP Credit

Agreement).

                (g)    Access to Records. Upon reasonable notice, at reasonable times during

normal business hours, the TCEH Debtors shall permit representatives, agents, and employees of

the Prepetition First Lien Agents and, the TCEH First Lien Ad Hoc Committee and its members,

and counsel to the Creditors’ Committee and its members, to have reasonable access to (i) inspect

the TCEH Debtors’ properties, and (ii) all information (including historical information and the

TCEH Debtors’ books and records) and personnel, including regularly scheduled meetings as

mutually agreed with senior management of the TCEH Debtors and other company advisors

(during normal business hours), and the Prepetition First Lien Agents, the TCEH First Lien Ad

Hoc Committee, and the TCEH First Lien Ad HocCreditors’ Committee shall be provided with

access to all information they shall reasonably request, subject to the restrictions of any

confidentiality agreement with or other contractual legal or fiduciary obligation of confidentiality

to any of the TCEH Debtors with respect to such information.

                (h)    Right to Seek Additional Adequate Protection. This Final Order is without

prejudice to, and does not constitute a waiver of, expressly or implicitly, the rights of the

Prepetition First Lien Creditors to request further or alternative forms of adequate protection at any

time or the rights of the TCEH Debtors, the Creditors’ Committee, or any other party to contest

such request.




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       6.      Modification of Automatic Stay. The automatic stay imposed under section 362(a)

of the Bankruptcy Code is modified as necessary to effectuate all of the terms and provisions of

this Final Order, including, without limitation, to: (a) permit the TCEH Debtors to grant the

Adequate Protection Liens and the 507(b) Claim; (b) permit the TCEH Debtors to perform such

acts as the Prepetition Secured Agents or Prepetition Secured Creditors each may request in their

reasonable discretion to assure the perfection and priority of the liens granted herein; (c) permit the

TCEH Debtors to incur all liabilities and obligations to the Prepetition Secured Agents and

Prepetition Secured Creditors under this Final Order; and (d) authorize the TCEH Debtors to pay,

and the Prepetition Secured Agents and Prepetition Secured Creditors to retain and apply,

payments made in accordance with the terms of this Final Order; provided, however, any stay

relief with respect to the exercise of remedies shall be in accordance with paragraph 13 below or as

otherwise ordered by this Court. Notwithstanding anything to the contrary in this Final Order, to

the extent any Deposit Letters of Credit (as defined in the First Lien Credit Agreement) issued

under the First Lien Facilities are drawn upon on or after the Petition Date, section 362(a) of the

Bankruptcy Code is deemed modified, without further order of, or notice to, the Bankruptcy Court,

to the extent necessary to permit Citibank, N.A. as the issuer of the Citibank Deposit Letters of

Credit (as defined in the First Lien Credit Agreement), to withdraw or cause to be withdrawn

amounts from the Citibank Deposit L/C Loan Collateral Account (as defined in the First Lien

Credit Agreement) and apply such amounts to satisfy any outstanding reimbursement obligations

in respect of such Deposit Letter of Credit owing to Citibank, N.A., as Deposit Letter of Credit

Issuer (as defined in the First Lien Credit Agreement). Notwithstanding anything to the contrary

in this Final Order or otherwise, the Deposit Letter of Credit Issuer shall honor any and all draws

made from time to time in accordance with terms of the applicable Deposit Letters of Credit.


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Notwithstanding anything to the contrary in this Final Order or any rights granted or action taken

pursuant hereto or pursuant to the agreements and transactions approved hereby, any and all rights

and priorities of the First Lien Lenders holding Deposit L/C Loans (as defined in the First Lien

Credit Agreement) (the “Deposit L/C Lenders”) in or to the Deposit L/C Loan Collateral Account

(as defined in the First Lien Credit Agreement) or any cash therein or proceeds thereof (including

amounts corresponding to undrawn Deposit Letters of Credit, and to drawn Deposit Letters of

Credit if and to the extent any such amounts are returned to the TCEH Debtors), whether held by

the TCEH Debtors or in which the TCEH Debtors otherwise have an interest as of the Petition

Date or thereafter (the “Deposit L/C Loan Collateral”), shall be preserved, including, without

limitation, any and all priorities among the First Lien Lenders or as between the Deposit L/C

Lenders and the other First Lien Lenders, and any and all rights, claims, and liens granted or

provided by or through this Final Order to the First Lien Lenders, to the extent applicable to any

Deposit L/C Loan Collateral, shall have the same priorities, if any, among the First Lien Lenders,

and as between the Deposit L/C Lenders and the other First Lien Lenders, as existed in the Deposit

L/C Loan Collateral as of the Petition Date. For the avoidance of doubt, the preceding sentence

delineates the rights and priorities (if any) among the First Lien Lenders or as between the Deposit

L/C Lenders and the other First Lien Lenders only, and in no way affects the DIP Agent, the DIP

Lenders, or the DIP L/C Issuers (each, as defined in the DIP Order) or their rights and priorities

with respect to the First Lien Lenders, the Deposit L/C Lenders, or the Deposit L/C Loan

Collateral.

       7.       Grant and Perfection of Adequate Protection Liens. This Final Order shall be

sufficient and conclusive evidence of the granting, attachment, validity, perfection, enforceability,

and priority of the Adequate Protection Liens without the necessity of obtaining, filing, executing,


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or recording any financing statement, security agreement, vehicle lien application, patent filing,

trademark filing, copyright filing, fixture filing, mortgage, notice, or other instrument or document

that may otherwise be required under the law or regulation of any jurisdiction or the taking of

possession of, or control over, assets, or the taking of any other action (including, for the avoidance

of doubt, entering into any deposit account control agreement and any other action required to

obtain “control” pursuant to section 9-104, 9-105, 9-106, and/or 9-107 of the Uniform Commercial

Code) to grant, attach, validate or perfect (in accordance with applicable nonbankruptcy law) the

Adequate Protection Liens, or to entitle the Prepetition Secured Agents and Prepetition Secured

Creditors to the priorities granted herein. Notwithstanding the foregoing, the First Lien Collateral

Agent and the Second Lien Agent are each authorized, but not required, to file such financing

statements, security agreements, vehicle lien applications, patent filings, trademark filings,

copyright filings, fixture filing, mortgages, notices of liens, and other instruments or similar

documents as may be necessary or desirable to perfect in accordance with applicable

non-bankruptcy law or to otherwise evidence the Adequate Protection Liens, and all such

financing statements, security agreements, vehicle lien applications, patent filings, trademark

filings, copyright filings, fixture filings, mortgages, notices of lien, and other documents shall be

deemed to have been filed or recorded as of the Petition Date; provided, however, that no such

filing or recordation shall be necessary or required in order to create, evidence, or perfect the

Adequate Protection Liens. The TCEH Debtors are authorized and directed to execute and deliver

promptly upon demand to the First Lien Collateral Agent and the Second Lien Agent all such

financing statements, security agreements, vehicle lien applications, mortgages, notices,

instruments, and other documents as the First Lien Collateral Agent or the Second Lien Agent may

reasonably request. The First Lien Collateral Agent or the Second Lien Agent may file a copy of


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this Final Order as a financing statement or notice with any filing or recording office or with any

registry of deeds or similar office, in addition to, or in lieu of, such financing statements,

mortgages, notices of lien, instrument, or similar document. In furtherance of the foregoing and

without further approval of the Court, each TCEH Debtor is authorized to do and perform all acts

to make, execute, and deliver all instruments and documents and to pay all fees that may be

reasonably required or necessary for the TCEH Debtors’ performance hereunder.

       8.      Credit Bid. Subject to the terms of the First Lien Intercreditor Agreement, the First

Lien Collateral Agent, for the benefit of the Prepetition First Lien Creditors, shall have the right to

credit bid under section 363(k) of the Bankruptcy Code all or any portion of their respective claims

in connection with a sale of the TCEH Debtors’ assets under section 363 of the Bankruptcy Code

or under a chapter 11 plan of reorganization for any or all of the TCEH Debtors; provided,

however, that if the Court shall enter a final order sustaining any challenge to the validity,

enforceability, or allowability of all or any portion of the Prepetition First Lien Obligations (a

“Challenge Order”), then upon entry of such Challenge Order and solely with respect to such

portion of the Prepetition First Lien Obligations that are subject to such Challenge Order, the rights

set forth in this paragraph 8 shall be subject to any limitations on credit bidding set forth in the

Challenge Order.Segregated Cash. Except as otherwise provided in paragraph 14 hereof, the

TCEH Debtors shall maintain the Segregated Cash in a segregated account and shall not make any

payments therefrom, unless otherwise ordered by the Court. Notwithstanding anything to the

contrary contained herein, the Prepetition First Lien Creditors reserve all rights, claims, and

defenses with respect to the Segregated Cash, including as to whether such Segregated Cash

constitutes Cash Collateral.




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       9.       Events of Default. The occurrence and continuance of any of the following events,

unless waived in writing by the First Lien Collateral Agent (with the consent or at the direction of

the Required Secured Parties), shall constitute an event of default (collectively, the “Events of

Default”):

                (a)       the TCEH Debtors shall have filed a motion seeking to create any

postpetition liens or security interests, other than those granted or permitted pursuant to the DIP

Order, any order of this Court approving the DIP Facility on a final basis, the Secured Commodity

Hedging Agreements, Secured Hedging Agreements, Secured Cash Management Agreements, or

this Final Order;

                (b)       the TCEH Debtors shall have breached the Financial Covenant set forth in

paragraph 5(f) of this Final Order;

                (c)       the entry of a final order by the Court, other than this Final Order, granting

relief from or modifying the automatic stay of section 362 of the Bankruptcy Code (i) to allow any

creditor to execute upon or enforce a lien on or security interest in any Collateral, or (ii) with

respect to any lien of or the granting of any lien on any Collateral to any state or local

environmental or regulatory agency or authority, which in either case would exceed an aggregate

value of $150,000,000;

                (d)       the Court shall enter an order approving any claims for recovery of amounts

under section 506(c) of the Bankruptcy Code or otherwise arising from the preservation of any

Prepetition Collateral;

                (d)       (e) an Event of Default under the DIP Order or the DIP Credit Agreement

that has not been waived or cured in accordance with the DIP Order or DIP Credit Agreement,

respectively;


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               (e)     (f) the TCEH Debtors shall commence or join in as an adverse party in any

suit or other proceeding against any of the Prepetition First Lien Agents or Prepetition First Lien

Creditors relating to the Prepetition First Lien Obligations or Prepetition Collateral, including any

proceeding seeking to avoid or require repayment of any Adequate Protection Payments;

               (f)     (g) reversal, amendment, supplement, vacatur, or modification (without the

express prior written consent of the First Lien Collateral Agent (with the consent or at the direction

of the Required Secured Parties and the TCEH First Lien Ad Hoc Committee)) of this Final Order;

               (g)     (h) the entry of a final order by the Court avoiding or requiring repayment

of any portion of the Adequate Protection Payments made by the TCEH Debtors hereunder;

               (h)     (i) dismissal of these Cases or conversion of these Cases to chapter 7 cases,

or appointment of a trustee, receiver, interim receiver, or manager, or appointment of a responsible

officer or examiner with enlarged powers in any of these Cases (having powers beyond those set

forth in Bankruptcy Code sections 1106(a)(3) and (4));

               (i)     (j) the TCEH Debtors’ exclusive right to file and solicit acceptances of a

plan of reorganization is terminated or terminates, unless such exclusivity expires after the TCEH

Debtors have filed a plan of reorganization with the Court, in form and substance satisfactory to

the TCEH First Lien Ad Hoc Committee, and are proceeding in good faith toward confirmation

and consummation, which shall not be an Event of Default;

               (j)     (k) the failure to make Adequate Protection Payments or other material

payments as set forth herein when due and such failure shall remain unremedied for more than five

(5) business days after receipt by the TCEH Debtors and counsel to the Creditors’ Committee of

written notice thereof from any of the First Lien Administrative Agent, the First Lien Notes

Trustee, any Hedge Counterparty or any Swap Counterparty; and


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               (k)     (l) the failure by the TCEH Debtors to perform, in any respect, any of the

material terms, provisions, conditions, or obligations under this Final Order and such failure shall

continue unremedied for more than five (5) business days after receipt by the TCEH Debtors and

counsel to the Creditors’ Committee of written notice thereof from any of the Prepetition First Lien

Agents, any Hedge Counterparty or any Swap Counterparty.

       10.     Rights and Remedies Upon Event of Default. Upon occurrence of an Event of

Default and following the giving of fiveten (510) business days’ notice to the TCEH Debtors and

counsel to the Creditors’ Committee (the “Remedies Notice Period”), the Prepetition First Lien

Agents and the Prepetition First Lien Creditors may exercise the remedies available to them under

this Final Order and applicable non-bankruptcy law, including, but not limited to, terminating the

TCEH Debtors’ right to use Cash Collateral and collecting and applying any proceeds of the

Prepetition Collateral in accordance with the terms of this Final Order and the Prepetition First

Lien Documents; provided, however, that the Prepetition First Lien Agents and the Prepetition

First Lien Creditors shall not foreclose on or otherwise exercise remedies against any of the

Prepetition Collateral while the DIP Lenders are continuing to pursue enforcement remedies

against such Prepetition Collateral after the DIP Agent has given notice to the TCEH Debtors that

an Event of Default (as defined in the DIP Order) has occurred upon termination of the TCEH

Debtors’ use of Cash Collateral; provided further, however, that nothing in this paragraph 10 shall

prohibit the Prepetition First Lien Agents or the Prepetition First Lien Creditors from

terminatingterminate the TCEH Debtors’ use of Cash Collateral at the end of the Remedies Notice

Period in accordance with the terms of this Final Order. During the Remedies Notice Period, the

TCEH Debtors may (a) request that this Court order the continued use of Cash Collateral pursuant

to an order in form and substance satisfactory to the Left Lead Arrangers (as defined in the DIP


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Credit Agreement) and/or challenge whether an Event of Default has occurred and/or is continuing

and (b) continue to use Cash Collateral in the ordinary course of business, consistent with past

practices and the most recently delivered Budget, but may not enter into any transactions or

arrangements (including, without limitation, the incurrence of indebtedness or liens, investments,

restricted payments, asset sales, or transactions with non-Debtor affiliates) that are not in the

ordinary course of business; provided that nothing in this paragraph 10 or in paragraph 14Final

Order shall limit the ability of the TCEH Debtors to (a) use DIP Collateral, including Cash

Collateral, during the Remedies Notice Period to, (b) seek use of Cash Collateral on a

nonconsensual basis, and/or to (c) challenge whether an Event of Default has occurred and/or is

continuing. Unless the Court orders otherwise during the Remedies Notice Period, at the end of

the Remedies Notice Period, the TCEH Debtors shall no longer have the right to use or seek to use

Cash Collateral, the automatic stay pursuant to section 362 of the Bankruptcy Code shall be

automatically terminated without further notice to, or order of, the Court, and the Prepetition First

Lien Agents and the Prepetition First Lien Creditors shall be permitted to exercise all rights and

remedies set forth in this Final Order and the Prepetition First Lien Documents, and as otherwise

available at law without further order or application or motion to the Court, and without restriction

or restraint by any stay under section 362 or 105 of the Bankruptcy Code. Notwithstanding

anything herein to the contrary, the automatic stay pursuant to section 362 of the Bankruptcy Code

shall be automatically terminated for the purposes of giving any notice contemplated hereunder.

The delay or failure to exercise rights and remedies under this Final Order or any Prepetition First

Lien Documents shall not constitute a waiver of the Prepetition First Lien Creditors’ rights

thereunder or otherwise.




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       11.     Carve Out. As used in this Final Order, “Carve Out” shall have the meaning

provided in the DIP Order. For the avoidance of doubt and notwithstanding anything to the

contrary in this Final Order, in the Prepetition Secured Facilities, or in any other prepetition

indebtedness agreements, the Carve Out shall be senior to all liens securing the Prepetition

Secured Obligations, the Tex-La Obligations, the Adequate Protection Liens, the 507(b) Claim,

and any and all other forms of adequate protection, liens, or claims securing the Prepetition First

Lien Obligations granted or recognized as valid hereunder, including the liens and security

interests granted to the Prepetition First Lien Creditors (including all security agreements, pledge

agreements, mortgages, deeds of trust, and other security documents executed by any of the TCEH

Debtors in favor of any of the Prepetition First Lien Agents, any Hedge Counterparty or any Swap

Counterparty under the Prepetition First Lien Documents, for their benefit or for the benefit of any

secured party under or in connection with the Prepetition First Lien Documents).

       12.     RCT Reclamation Support Carve Out. Notwithstanding any provision of the DIP

Documents (as defined in the DIP Order) or this Final Order to the contrary, for the sake of clarity,

with respect to the RCT Reclamation Support Carve Out in favor of the Railroad Commission of

Texas (the “RCT”) for financial assurance for Debtor Luminant Mining Company LLC’s

reclamation obligations, the RCT shall be entitled to up to the first $1,100,000,000 in proceeds of

DIP Collateral (as defined in the DIP Order) to satisfy valid claims against the RCT Reclamation

Support Carve Out, in the event such DIP Collateral is liquidated, before payment of claims of all

other secured or unsecured creditors or other parties in interest, other than the amounts subject to

the professional fee carve out (which amounts are defined as the “Carve Out” in paragraph 25 of

the DIP Order)Carve Out; provided, however, that in the event the Borrower issues and delivers

the RCT Carve Out Support Rejection Notice pursuant to Section 4.4 of the DIP Credit


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Agreement, the RCT Reclamation Support Carve Out will terminate and be permanently reduced

to $0 for all purposes under this Final Order, and the RCT shall thereafter cease to have any rights

in respect of the RCT Reclamation Support Carve Out.

       13.     Reservation of Certain Committee and Third Party Rights and Bar of Challenges

and Claims. The stipulations and admissions contained in this Final Order, including, without

limitation, the TCEH Debtors’ Stipulations, shall be binding upon the TCEH Debtors, their

affiliates, and any of their respective successors (including, without limitation, any chapter 7 or

chapter 11 trustee appointed or elected for a TCEH Debtor) in all circumstances. The stipulations

and admissions contained in this Final Order, including, without limitation, the TCEH Debtors’

Stipulations, shall be binding upon all other parties in interest, including, without limitation, the

Creditors’ Committee and any other person acting on behalf of the TCEH Debtors’ estates, unless

the Creditors’ Committee or a party in interest with standing granted by order of the Court (or

other court of competent jurisdiction) has filed an adversary proceeding or contested matter, or has

filed a pleading for standing to commence such adversary proceeding or contested matter, seeking

to avoid, object to, or otherwise challenge the TCEH Debtors’ Stipulations (any such claim, a

“Challenge”): (i) within (a) with respect to any party in interest granted standing other than the

Creditors’ Committee, 75 calendar days after entry of the Interim Order, or July 16, 2014, or (b)

for the Creditors’ Committee, if granted standing, 60120 calendar days after formation, or July 12,

2014, in each case subject to further extensionSeptember 10, 2014, without prejudice to the rights

of the Committee to obtain further extensions of the Challenge Period by written agreement of the

TCEH Debtors, the Prepetition First Lien Agents, and the TCEH First Lien Ad Hoc Committee,

and any individual Prepetition First Lien Creditor that is the subject of a Challenge (as defined

below) First Lien Ad Hoc Committee, solely with respect to the Challenge Period (as defined


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below) relating to such Challenge, each acting in their sole discretion, or for cause shown; (in each

case, a “Challenge Period” and the date of expiration of each Challenge Period being a “Challenge

Period Termination Date”), and (ii) seeking to avoid, object to, or otherwise challenge the findings

or TCEH Debtors’ Stipulations regarding: (a) the validity, enforceability, extent, priority, or

perfection of the mortgages, security interests, and liens of any Prepetition First Lien Agent or

Prepetition First Lien Creditor; or (b) the validity, enforceability, allowability, priority, secured

status, or amount of the Prepetition First Lien Obligations (any such claim, a “Challenge”) and (iii)

there is a final order entered in favor of the plaintiff sustaining any such Challenge in any such

adversary proceeding or contested matter; provided, however, that if the Creditors’ Committee

files a motion seeking standing to bring causes of action prior to the Challenge Deadline, the

Challenge Deadline shall be tolled until five (5) business days after adjudication of such motion,

which will be heard at the next omnibus hearing at least fourteen (14) calendar days following the

filing of the motion or as determined by the Court. Upon the expiration of the Challenge Period

Termination Date without the filing of a Challenge (or if any such Challenge is filed and

overruled): (a) any and all such Challenges by any party (including, without limitation, the

Creditors’ Committee, any chapter 11 trustee, and/ or any examiner and/or other estate

representative appointed or elected in these Cases, and any chapter 7 trustee and/or examiner or

other estate representative appointed or elected in any Successor Case) shall be deemed to be

forever waived, released, and barred; (b) the Prepetition First Lien Obligations shall constitute

allowed claims, not subject to counterclaim, setoff, recoupment, reduction, subordination,

recharacterization, defense, or avoidance for all purposes in the TCEH Debtors’ Cases and any

subsequent chapter 7 cases; (c) the Prepetition First Priority Liens shall be deemed to have been, as

of the Petition Date, legal, valid, binding and perfected, not subject to recharacterization,


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subordination, or avoidance; and (d) all of the TCEH Debtors’ stipulations and admissions

contained in this Final Order, including, without limitation, the TCEH Debtors’ Stipulations, and

all other waivers, releases, affirmations, and other stipulations as to the priority, extent, and

validity as to the Prepetition First Lien Agents’ and Prepetition First Lien Creditors’ claims, liens,

and interests contained in this Final Order shall be of full force and effect and forever binding upon

the TCEH Debtors, the TCEH Debtors’ bankruptcy estates, and all creditors, interest holders, and

other parties in interest in these Cases and any Successor Cases. If any such adversary proceeding

or contested matter is timely filed, the stipulations and admissions contained in this Final Order,

including the TCEH Debtors’ Stipulations, shall nonetheless remain binding and preclusive on the

Creditors’ Committee and any other person or entity except to the extent that such stipulations and

admissions were expressly challenged in such adversary proceeding or contested matter prior to

the Challenge Period Termination Date. Nothing in this Final Order vests or confers on any

Person (as defined in the Bankruptcy Code), including the Creditors’ Committee, standing or

authority to pursue any cause of action belonging to the TCEH Debtors or their estates, including,

without limitation, any Challenges with respect to the First Lien Facilities or the Prepetition First

Lien Obligations, and an order of the Court (or any other court of competent jurisdiction)

conferring such standing on athe Creditors’ Committee or other party-in-interest shall be a

prerequisite for the prosecution of a Challenge by the Creditors’ Committee or such other

party-in-interest.

        14.     Limitations on the Use of Cash Collateral. Notwithstanding anything herein to the

contrary, except as provided in this paragraph and in paragraph 10 with respect to the ability of the

TCEH Debtors to use DIP Collateral, including Cash Collateral, solely during the Remedies

Notice Period to seek use of Cash Collateral on a nonconsensual basis and/or to challenge whether


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an Event of Default has occurred and/or is continuing, the TCEH Debtors shall not assert or

prosecute, and no portion of the proceeds of the DIP Facility, the DIP Collateral, the Prepetition

Collateral, including Cash Collateral, or the Carve Out, and no disbursements set forth in the

Budget, may be used for the payment of professional fees, disbursements, costs, or expenses

incurred by any person in connection with (a) incurring Indebtedness (as defined in the DIP Credit

Agreement) except to the extent permitted under the DIP Credit Agreement or this Final Order; (b)

preventing, hindering, or delaying any of the DIP Agent’s, the DIP Lenders’, the DIP L/C Issuers’,

the Prepetition First Lien Agents’, or the Prepetition First Lien Creditors’ (in the case of each of

the foregoing, in their respective capacities as such) enforcement or realization upon, or exercise

of rights in respect of, any of the DIP Collateral or the Prepetition Collateral once an Event of

Default has occurred and after the Remedies Notice Period; (c) objecting, challenging, or

contesting in any manner, or raising any defenses to, the validity, extent, amount, perfection,

priority, or enforceability of any of the DIP Obligations, the DIP Liens, the Prepetition First Lien

Obligations, the Prepetition First Priority Liens, or the Prepetition Collateral (including Cash

Collateral), or any other rights or interest of any of the DIP Agent, the DIP Lenders, the DIP L/C

Issuers, the Secured Hedge Banks, the Secured Cash Management Banks, the Prepetition First

Lien Agents, or the Prepetition First Lien Creditors (in the case of each of the foregoing, in their

respective capacities as such); (d) asserting, commencing, or prosecuting any claims or causes of

action, including, without limitation, any actions under chapter 5 of the Bankruptcy Code, against

any of the DIP Agent, the DIP Lenders, the DIP L/C Issuers, the Secured Hedge Banks, the

Secured Cash Management Banks, the Prepetition First Lien Agents, the Prepetition First Lien

Creditors, or any of their respective affiliates, agents, attorneys, advisors, professionals, officers,

directors, or employees (in the case of each of the foregoing, in their respective capacities as such);


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or (e) asserting, joining, commencing, supporting, investigating, or prosecuting any action for any

claim, counter-claim, action, cause of action, proceeding, application, motion, objection, defense,

or other contested matter seeking any order, judgment, determination, or similar relief against, or

materially adverse to the material interests of the Released Parties (as defined in the DIP Order) or

the Prepetition First Lien Creditors, arising out of, in connection with, or relating to the DIP

Facility, the DIP Documents, the Prepetition First Lien Documents, or the financing transactions

contemplated thereunder, including, without limitation, (i) any action arising under the

Bankruptcy Code with respect to or relating to the DIP Obligations, the DIP Liens, DIP Facility, or

the Prepetition First Lien Documents, as applicable; (ii) any so-called “lender liability” claims and

causes of action with respect to or relating to the DIP Obligations, the DIP Liens, the DIP Facility,

or the Prepetition First Lien Documents, as applicable; (iii) any action with respect to the validity

and extent of the DIP Obligations, the DIP Superpriority Claims, or the Prepetition First Lien

Obligations, or the validity, extent, perfection, and priority of the DIP Liens or the Prepetition First

Priority Liens; (iv) any action seeking to invalidate, set aside, avoid, reduce, set off, offset,

recharacterize, subordinate (whether equitable, contractual, or otherwise), recoup against,

disallow, impair, raise any defenses, cross-claims, or counterclaims, or raise any other challenges

under the Bankruptcy Code or any other applicable domestic or foreign law or regulation against,

or with respect to, the DIP Liens, the DIP Superpriority Claims, or the Prepetition First Priority

Liens, in whole or in part; (v) appeal or otherwise challenge the DIP Order, any order of this Court

approving the DIP Facility on a final basis, the DIP Documents, or any of the transactions

contemplated therein, provided, that nothing herein shall limit the Creditors’ Committee’s rights to

be compensated for any objection to or an appeal of the DIP Order or this Final Order, and any

allowed fees and expenses of the Creditors’ Committee’s professionals with respect thereto may be


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paid using any of the proceeds of the DIP Facility, the DIP Collateral, the Prepetition Collateral,

including Cash Collateral, Segregated Cash, or the Carve Out; and/or (vi) any action that has the

effect of preventing, hindering, or delaying (whether directly or indirectly) the DIP Agent, the DIP

Lenders, and the DIP L/C Issuers in respect of their liens and security interests in the DIP Collateral

or any of their rights, powers, or benefits hereunder or in the DIP Documents anywhere in the world;

provided, however, that the Carve Out and such collateral proceeds and loans under the DIP

Documents may be used for allowed fees and expenses, in an amount not to exceed

$175,0001,500,000 in the aggregate (the “Investigation Fund”), incurred solely by the Creditors’

Committee, if appointed, in investigating the validity, enforceability, perfection, priority, or extent

of the Prepetition First Priority Liens or Prepetition Second Priority Liens in investigating any

potential challenges to the Stipulations, admissions and releases contained in paragraph F herein

during the Challenge Period; provided further, however, that the         limitations set forth in this

paragraph 14, including the Investigation Fund, shall in no way impact the Committee’s ability to

investigate without limitation the leveraged buy out and the transactions related thereto, including,

without limitation, the transactions that are referenced in the Motion of Wilmington Savings Fund

Society, FSB for Leave to Conduct Discovery Pursuant to Rule 2004 of the Federal Rules of

Bankruptcy Procedure of Energy Future Holdings Corporation, its Affiliates, and Certain Third

Parties [Docket No. 6] and related filings; and provided further, however, that the Creditors’

Committee may not use the Investigation Fund to initiate, assert, join, commence, support, or

prosecute any actions or discovery with respect thereto. Any and all claims for fees or expenses

incurred by the Committee, if appointed, or by any party in interest in violation of any clause of

this paragraph 14 (including amounts incurred in excess of the Investigation Fund) shall not be

allowed, treated, or payable as an administrative expense claim for purposes of section


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1129(a)(9)(A) of the Bankruptcy Code, and the non-payment of such fees and expenses shall not

constitute grounds to deny confirmation of any plan of reorganization for any of the TCEH

DebtorsFor the avoidance of doubt, nothing herein shall prevent professionals of the Creditors’

Committee from being compensated for any Challenge or investigation on a current basis from the

Segregated Cash or the proceeds of other Unencumbered Assets.

       15.     No Third Party Rights. Except as explicitly provided for herein, this Final Order

does not create any rights for the benefit of any third party, creditor, equity holder, or any direct,

indirect, or incidental beneficiary.

       16.     Section 506(c) Claims. Upon entry of this Final Order, no costs or expenses of

administration which have been or may be incurred in these Cases at any time, or any future

proceeding that may result therefrom, shall be charged against the Prepetition First Lien Agents or

any Prepetition First Lien Creditor or any of their respective claims or the Prepetition Collateral

pursuant to sections 105 or 506(c) of the Bankruptcy Code, or otherwise, without the prior express

written consent of the First Lien Collateral Agent (with the consent or at the direction of the

Required Secured Parties) or applicable Prepetition First Lien Creditor, and no such consent shall

be implied, directly or indirectly, from any other action, inaction, or acquiescence by any such

representatives, agents, or lenders.

       16.     17. No Waiver of Prepetition First Lien Creditors’ Rights; Reservation of Rights.

Notwithstanding any provision in this Final Order to the contrary, this Final Order is without

prejudice to, and does not constitute a waiver of, expressly or implicitly, any Prepetition First Lien

Creditor’s rights with respect to any person or entity other than the TCEH Debtors or with respect

to any other collateral owned or held by any person or entity other than the TCEH Debtors. The




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rights of the Prepetition First Lien Creditors are expressly reserved and entry of this Final Order

shall be without prejudice to, and does not constitute a waiver, expressly or implicitly, of:

               (a)     the Prepetition First Lien Creditors’ rights under any of the Prepetition First

Lien Documents;

               (b)     the Prepetition First Lien Creditors’ rights to seek any other or

supplemental relief in respect of the TCEH Debtors;

               (c)     the Prepetition First Lien Creditors’ rights to seek modification of the grant

of adequate protection provided under this Final Order so as to provide different or additional

adequate protection at any time; or

                       (a)     any other rights, claims, or privileges (whether legal, equitable, or

otherwise) of the Prepetition First Lien Creditors. Notwithstanding any other provision of this

Final Order, consistent with and solely to the extent provided in section 5.2 of the First Lien

Intercreditor Agreement, no amendment, modification, waiver, supplement, termination or

consent shall be made or given with respect to this Final Order which has the effect of

disproportionately disadvantaging, or otherwise discriminating against, the Hedge Counterparties

relative to the other Prepetition First Lien Creditors without the prior written consent of the

Required Commodity Hedge Counterparties and the Required Alternative Commodity Hedge

Counterparties (each as defined in the First Lien Intercreditor Agreement), or, if less than all

Hedge Counterparties are so disadvantaged or otherwise discriminated against, the prior written

consent of each such Hedge Counterparty that would be materially and adversely affected thereby.

       17.     18. No Liability to Third Parties. Upon entry of this Final Order, in permitting the

TCEH Debtors to use of Cash Collateral under the terms set forth herein or in taking any other

actions related to the Interim or Final Orders, the Prepetition First Lien Agents and Prepetition


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First Lien Creditors (a) shall have no liability to any third party and shall not be deemed to be in

control of the operations of any TCEH Debtors or to be acting as a “controlling person,”

“responsible person,” or “owner or operator” with respect to the operation or management of any

TCEH Debtors (as such term, or any similar terms, are used in the Internal Revenue Code, the

United States Comprehensive Environmental Response, Compensation and Liability Act, as

amended, or any similar Federal or state statute), and (b) shall not owe any fiduciary duty to any of

the TCEH Debtors, their creditors, or their estates, and shall not be party to or be deemed to be

party to a joint venture or partnership with any of the TCEH Debtors.

       18.     19. No Marshaling/Applications of Proceeds. The Prepetition First Lien Agents

and Prepetition First Lien Creditors shall not be subject to the equitable doctrine of “marshaling”

or any other similar doctrine with respect to any of the Prepetition Collateral, as the case may be,

and proceeds or payments shall be received and applied in accordance with the Prepetition First

Lien Documents, including, without limitation, the First Lien Intercreditor Agreement,

notwithstanding any other agreement or provision to the contrary.

       19.     20. Section 552(b). Upon entry of this Final Order, the Prepetition First Lien

Agents and Prepetition First Lien Creditors shall each be entitled to all of the rights and benefits of

section 552(b) of the Bankruptcy Code, and the TCEH Debtors hereby waive the “equities of the

case” exception under section 552(b) of the Bankruptcy Code shall not apply to any ofwith respect

to the Prepetition First Lien Agents or Prepetition First Lien Creditors with respect toor any of the

proceeds, product, offspring, or profits of any of the Prepetition Collateral.

       20.     21. Additional Modification of Stay. To the extent the automatic stay provisions of

section 362 of the Bankruptcy Code would otherwise apply, such provisions are vacated for the

purposes of permitting the transfer and assignment of any liens, pledges, or security interests upon


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the Prepetition Collateral from Citibank, N.A. to Wilmington Trust, N.A., as successor First Lien

Administrative Agent and First Lien Collateral Agent under the First Lien Credit Agreement, the

First Lien Intercreditor Agreement and the Second Lien Intercreditor Agreement. Citibank, N.A.

is authorized to resign as Administrative Agent, Collateral Agent, Revolving Letter of Credit

Issuer, and Deposit Letter of Credit Issuer under the First Lien Credit Agreement and the other

Credit Documents (as defined in the First Lien Credit Agreement) and Financing Documents (as

defined in the First Lien Intercreditor Agreement), including, without limitation, to resign as

Collateral Agent under the First Lien Intercreditor Agreement, in accordance with the terms of

Sections 3.6 and 12.9 of the First Lien Credit Agreement and Section 7.7 of the First Lien

Intercreditor Agreement. Citibank, N.A. is authorized to appoint Wilmington Trust, N.A. to act as

successor First Lien Administrative Agent and First Lien Collateral Agent under the First Lien

Credit Agreement and the other Credit Documents and Financing Documents, and the TCEH

Debtors are authorized and empowered to execute and deliver a successor agency agreement with

Citibank, N.A. and Wilmington Trust, N.A., and to execute and deliver all instruments and

documents which may be required or necessary to effectuate the resignation contemplated by this

paragraph 21 or in any such successor agency agreement. For the avoidance of doubt, Citibank,

N.A.’s resignation as Administrative Agent, Collateral Agent, Revolving Letter of Credit Issuer,

and Deposit Letter of Credit Issuer under the First Lien Credit Agreement and the other Credit

Documents and Financing Documents, including, without limitation, Citibank, N.A.’s resignation

as Collateral Agent under the First Lien Intercreditor Agreement, shall in no way cause, create, or

result in a lapse in perfection of the Prepetition First Priority Liens. Additionally, to the extent the

automatic stay provisions of section 362 of the Bankruptcy Code would otherwise apply, such

provisions are vacated for the purposes of permitting the transfer and assignment of any liens,


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pledges, or security interests upon the Prepetition Collateral from The Bank of New York Mellon

Trust Company, N.A. to Wilmington Savings Fund Society, FSB, as successor Second Lien

Collateral Agent under the Second Lien Notes Indenture and the Second Lien Intercreditor

Agreement. The Bank of New York Mellon Trust Company, N.A. is authorized to resign as

Second Lien Collateral Agent and, and the Issuer (as defined in the Second Lien Notes Indenture)

is authorized to appoint Wilmington Savings Fund Society, FSB to act as successor Second Lien

Collateral Agent under the Second Lien Notes Indenture and Second Lien Intercreditor

Agreement, and the TCEH Debtors are authorized and empowered to execute and deliver a

successor agency agreement with The Bank of New York Mellon Trust Company, N.A. and

appoint Wilmington Savings Fund Society, FSB, and to execute and deliver all instruments and

documents which may be required or necessary to effectuate the resignation contemplated by this

paragraph 21 or in any such successor agency agreement; provided, that The Bank of New York

Mellon Trust Company, N.A.’s resignation as Second Lien Collateral Agent under the Second

Lien Notes Indenture and Second Lien Intercreditor Agreement, shall in no way cause, create, or

result in a lapse in perfection of the Prepetition Second Priority Liens; provided, further, that

nothing herein shall be construed as allowing any claim, administrative or otherwise, of

Wilmington Savings Fund Society, FSB, as successor Second Lien Collateral Agent, or entitling

Wilmington Savings Fund Society, FSB to payment of professional fees and expenses.

       21.     22. Proofs of Claim. Notwithstanding any order entered by the Court in relation to

the establishment of a bar date in any of these Cases or Successor Cases to the contrary, the

Prepetition First Lien Agents and Prepetition First Lien Creditors will not be required to file proofs

of claim in any of these Cases or Successor Cases for any claim described herein, and the TCEH

Debtors’ Stipulations in paragraph F herein shall be deemed to constitute a timely filed proof of


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claim for the Prepetition First Lien Agents and Prepetition First Lien Creditors. Notwithstanding

the foregoing, the Prepetition First Lien Agents, for the benefit of themselves and the Prepetition

First Lien Creditors, and each of the Prepetition First Lien Creditors, for its own benefit, are

authorized, but not directed or required, in their sole discretion, to file (and amend and/or

supplement, as they see fit) a proof of claim and/or aggregate proofs of claim in each of these

Cases or Successor Cases for any claim described herein.

        22.     23. Binding Effect of Final Order.         Immediately upon entry by this Court

(notwithstanding any applicable law or rule to the contrary), the terms and provisions of this Final

Order shall become valid and binding upon and inure to the benefit of the TCEH Debtors, the

Prepetition First Lien Agents, the Prepetition First Lien Creditors, all other creditors of any of the

TCEH Debtors, the Creditors’ Committee or any other Court-appointed committee appointed in

any Cases, and all other parties in interest and the respective successors and assigns of each of the

foregoing, including any chapter 7 or chapter 11 trustee or other fiduciary hereafter appointed or

elected for the estates of the TCEH Debtors or with respect to the property of the estate of any

TCEH Debtors in any of these Cases, any Successor Cases, or upon dismissal of any Case or

Successor Case. In the event of any inconsistency between the provisions of this Final Order and

the Prepetition First Lien Documents or any other order (including any “First Day” order, other

than the DIP Order), the provisions of this Final Order shall govern and control. In the event of

any inconsistency between the provisions of this Final Order and the DIP Order, the DIP Order

shall govern, except that this Final Order shall govern with respect to the rights and priorities of the

Prepetition First Lien Agents and Prepetition First Lien Creditors in and amongst themselves. Any

payments to be made under any order (including any “First Day” order, other than the DIP Order)

shall be made in accordance with this Final Order.


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       23.       24. Survival. The provisions of this Final Order and any actions taken pursuant

hereto shall survive entry of any order which may be entered: (a) confirming any plan of

reorganization in any of these Cases; (b) converting any of these Cases to a case under chapter 7 of

the Bankruptcy Code; or (c) dismissing any of these Cases or any Successor Cases. The terms and

provisions of this Final Order, including, without limitation, the granting of the Adequate

Protection Liens and 507(b) Claim, and the other protections granted to the Prepetition First Lien

Agents and Prepetition First Lien Creditors pursuant to this Final Order, shall continue in full force

and effect notwithstanding entry of any such order.

       24.       25. Railcar Lease Representation. Nothing herein primes or otherwise affects the

rights and interests of TXU 2007-1 Railcar Leasing LLC (as the assignee of its affiliate High Ridge

Leasing, LLC) under that certain Lease dated as of September 7, 2007, by and among TXU 2007-1

Railcar Leasing LLC (as assignee of its affiliate High Ridge Leasing, LLC) and Debtor Texas

Competitive Electric Holdings Company LLC, relating to 996 Aluminum Rapid Discharge IV

Coal Cars (the “Railcar Lease”). All rights of parties in interest with respect to the Railcar Lease

are preserved.

       25.       26. Effect of this Final Order. This Final Order shall constitute findings of fact and

conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be enforceable

immediately upon execution hereof.

       26.       27. Retention of Jurisdiction. The Court retains exclusive jurisdiction with respect

to all matters arising from or related to the implementation of this Final Order.

Wilmington, Delaware
Dated: ____________, 2014

                                                    THE HONORABLE CHRISTOPHER S. SONTCHI
                                                    UNITED STATES BANKRUPTCY JUDGE



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